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                EXHIBIT D
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


 LA UNIÓN DEL PUEBLO ENTERO, et al.,

                       Plaintiffs,
        v.

 DONALD J. TRUMP, sued in his official               Civil Action No. 8:19-CV-02710-PX
 capacity as President of the United States, et
 al.,

                       Defendants.

                             DECLARATION OF AMY O’HARA

   I.        QUALIFICATIONS

        1.     I am a Research Professor in the Massive Data Institute at the McCourt School of

Public Policy at Georgetown University and Executive Director of Georgetown’s Federal

Statistical Research Data Center. I have been in this role at Georgetown since 2018, where I

focus on the secure and responsible use of administrative data for research and statistical

purposes. I lead a team that develops governance models, data access protocols, and research

methods to advance ethical and privacy preserving data uses. I have a Ph.D. in economics from

the University of Notre Dame. A copy of my CV is attached to this declaration.

        2.     Prior to entering academia, I worked at the U.S. Census Bureau for fourteen

years. I am the former chief of the Center for Administrative Records Research and Applications

(CARRA), where I designed and led the data acquisition, linkage, and research activities using

federal, state, and local administrative data. As the senior executive over administrative data, I

negotiated access and uses of data from dozens of agencies, and oversaw the data processing to

enable matching across files. I designed and led the work on administrative records during the

2020 Research and Testing Program through 2012, and led negotiations to obtain administrative

data for decennial census planning and operations through 2017. I have received the Department
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of Commerce Gold Award for negotiating access to tax data for the 2020 census, and Census

Bureau Bronze Award for work with administrative data. I was also awarded the 2012 Arthur S.

Flemming Award for my leadership in expanding the use of administrative data in federal

statistics.

          3.      I was retained by the plaintiffs in La Uniόn del Pueblo Entero, et al., v. Trump, et

al., No. 8:19-CV-02710 (D. Md.), to provide my expert opinion on the policies and procedures

involving administrative records at the U.S. Census Bureau, and on the extent to which the

Commerce Department and Census Bureau policies and protocols affect the accuracy of the 2020

Census.

          4.      I am being compensated at a rate of $150 per hour.

    II.        SUMMARY AND CONCLUSIONS

          5.      Based on my experience and knowledge, the decision by the Census Bureau to

end field operations and compress post data collection activities (referred to herein as “post-

processing”) to deliver apportionment data by December 31, 2020 will require excessive reliance

on administrative data and imputation methods that are very likely to produce undercounts

through failure to enumerate individuals.

          6.      Based on my experience and knowledge of administrative data sources and

quality, it is my opinion that truncating field operations and post-processing will strain currently

developed methods and processes that are used to fill-in missing data and will reduce the

accuracy of census counts and characteristics in the following ways:

               a. Shorter fieldwork may reduce the number of in-person or proxy responses

                  obtained; this will then require more imputation.




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            b. The administrative data sources currently planned for count imputation use have

                insufficient coverage for low-income and highly mobile households.

            c. Reduced fieldwork cannot be remedied by using administrative data.

    III.    PLANNED USES OF ADMINISTRATIVE RECORDS

      7.        The Census Bureau acquired administrative records from 2010 onwards, for

research and testing, in order to determine how to assess quality and a source’s fitness for use

(e.g., different data are valuable for different uses, like filling in missing age or sex, or to help

determine whether a unit is vacant). Data sources were identified, then data sharing agreements

were negotiated between the Census Bureau and the relevant agency. Files were delivered,

reviewed, and assessed to see how complete and accurate their data were. A set of data from

federal, state, and commercial sources were built into an operational database for the 2020

census. These records were harmonized, or uniformly processed and ready to plug into census

operations. The system was developed and tested over the past several years, and at the start of

2020 the system was expected to receive updates from its component sources during the year.

The scale of data preparation was unprecedented for census operations, requiring billions of

records to be normalized and readied for multiple uses. A typical census schedule required the

parallel development of the MAF and field operations, but 2020 innovations also required

coordination of the administrative data system and online response system. This was a huge and

complex undertaking that received less testing than originally planned and had system

integration challenges.

      8.        The pandemic rattled this undertaking. COVID-19 altered the economy, society,

and census. Shifts in residential patterns, school closings, community lockdowns, and disruption

of government programs and services were just a few of the factors that affected data streams




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and census plans. Some families moved away from viral hotspots, families decided how to

cohabitate to care for children and elders, higher education institutions sent students home, and

many aspects of life shifted online as non-essential businesses were ordered closed in many

places. Many government agencies and departments limited services, allowing extensions on

everything from income tax filings to driver’s license renewals. The economic shutdown caused

a crush of filers and applicants for unemployment benefits and food assistance programs. All of

this affected the both the data landscape and the enumeration itself. The Census Bureau faced

uncertainty and delay over how the census fieldwork could occur, and has not released updated

plans on how administrative data will be used. Based on my experience and knowledge, the

policy setting and decision-making processes at the Census Bureau are unable to adapt quickly to

address the effects of the pandemic.

      9.         According to Census Bureau plans, they hoped to have a self-response of 60% by

mid-May, then send more than 420,000 field staff to conduct NRFU over a 15-week period from

mid-May to mid-August 2020. That would have allowed the Census Bureau approximately

twenty weeks (mid-August to December) to process the data to prepare the apportionment counts

by December 31, 2020.

         10.     The Census Bureau announced it will end fieldwork on September 30, 2020, yet

the counts are still due December 31, 2020 and the Census Bureau has hired far fewer

enumerators than planned.


   IV.         AFFECT OF THE PANDEMIC ON THE INTENDED USE OF
               ADMINISTRATIVE RECORDS

         11.     Administrative data cannot fix all the issues created by the pandemic and the

truncated schedule. Adhering to the end of year deadline compresses not only the fieldwork, but




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also reduces the post-processing time. These two issues compound the risk of an inaccurate

count. The goal of fieldwork is to obtain a count for each housing unit that has not yet

responded. By limiting the number of weeks in the field, the Census Bureau risks its ability to

visit housing units to assess whether they are vacant or occupied, and to arrange visits to obtain

proxy responses from building managers in multi-unit buildings. If there are sections of cities or

rural communities that fail to receive in-person visits, the Census Bureau will need to fill in

missing data during post-processing in a time period of only about 13 weeks (October to

December) to meet a December 31, 2020 apportionment count deadline. To recap, the Census

Bureau was supposed to have 15 weeks in the field and will now have seven. They were

supposed to have 20 weeks of post-processing and will now have 13.

       12.     After fieldwork is done, the Census Bureau needs to deal with missing data: If

there is no self-response (from internet, phone, paper, or fieldwork) or proxy response for a

housing unit, the Census Bureau will need to assess whether a non-responding unit was vacant or

occupied. A number of administrative and commercial data sources are prepared for this

assignment, but they have never been tested for the large volume of cases that will need to be

processed. This brings a risk of using uneven USPS “vacant” designations from across the

country and from differing types of addresses (e.g., non-city style addresses, apartment buildings

with mail drops), and IRS data that may non-representative of the full population, undercounting

minority groups.

       13.     Several of the administrative data sources tested for this use have had COVID

challenges. The Census Bureau plan for count imputation is highly reliant on individual income

tax data from the Internal Revenue Service (IRS). IRS data have substantial coverage of the U.S.

population – hundreds of millions of records reflect person-address data on W-2s, information




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returns about interest, mortgages, student loans, Social Security benefits, and contracting income.

IRS income tax returns, filed on Form 1040s, often list an entire family or household and on-time

returns are typically filed in early April, lining up well with Census Day of April 1. The

pandemic affected timely filing, with business closures limiting the number of low-income filers

who could visit retail tax preparers (or volunteer tax preparers at local libraries) in person. IRS

offered a filing extension through July 15, 2020, though many individuals filed earlier to obtain

their refunds or the economic stimulus payment that was administered through the tax system

this spring. This stimulus payment may have increased the value of IRS records for the 2020

census, provided they arrive in time. The economic stimulus rebate administered during the last

recession induced filing of millions of additional returns. However, IRS processing was

disrupted due to the pandemic. A lack of transparency into the volume, coverage, and timeliness

of administrative data like the IRS returns prompt questions over Census’s possible expanded

reliance on such sources.

       14.     The bulk of the tax records were expected in May and June. If the records come

in late, post-processing will suffer delays and disruption. This calls into question whether the

Census Bureau has adopted policies to address changes to administrative data delivery, content,

or composition, and whether they can do all this work by December 31, 2020.

       15.     The Census Bureau invested in administrative data and methods expecting a much

smaller workload to designate vacant, occupied, or delete status since they planned on being in

the field for complete Non-Response Follow-Up operations. Given that the fieldwork will be cut

short, the volume of addresses for which vacant/delete status must be identified will be greater.




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    V.         ALTERNATIVE APPROACHES TO RESPOND TO THE PANDEMIC

         16.     The Census could use administrative data as planned to fill in missing data, but

there are significant concerns about data availability. For example, as noted above, the Census

Bureau’s plans rely on heavy use of tax data, which does not include all households or children.

With a larger than expected amount of missing data, this will result in biased responses and

undercounts.

         17.     In order to maximize use of the administrative data, the Census Bureau would

need to review the existing policies, assumptions, and rules of thumb embedded in their

decisions. The Census Bureau has acquired, harmonized, and readied dozens of source files;

many were evaluated during the decade and tested against 2010 or survey data, but were not

deemed as highest quality by decennial planners. The 30+ administrative data sources ready for

production 1 were assembled to support different operations. For example, some sources were

tested and readied for vacant/delete checks, others were prepared for count imputation, and still

other sources were best for characteristic imputation (e.g., where a household responds with a

count but does not complete information on household member age or race). Operational tests

had required the presence of two corroborating data points from the same or different data

sources for inclusion in imputation processing.

         18.     Thus, it is possible that expanded administrative data use to fill in missing data

could occur before traditional hot deck imputation. Hot deck imputation assigns a missing value

(whether a household count, age, or sex) from another census record with similar characteristics.

The “hot deck” is a set of records with similar variables such as age, race, and sex that provide



1
 “Intended Administrative Data Use in the 2020 Census,” Karen D. Deaver, U.S. Census Bureau, May 1, 2020,
https://www2.census.gov/programs-surveys/decennial/2020/program-management/planning-docs/administrative-
data-use-2020-census.pdf.


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the donor records for assignment. The Census Bureau has not released details on the

characteristics of respondents or detailed geography of response patterns to demonstrate that

available responses to act as donor households are sufficient for an increased use of imputation.

In past censuses, the Census Bureau has imputed whole households, though at very low rates in

any geography. Hot deck imputation at a greater level than previously applied could be risky

during this census, especially with truncated fieldwork. This is because households who

completed the census may not be representative of households who did not respond.

         19.     The 2020 census has been atypical in its conduct, timeline, response patterns, and

underlying residential stability due to the pandemic. Based on my experience and knowledge, I

do not believe that combining self-reported, proxy, and administrative data information was

tested by the Census Bureau for imputation. The lack of uniform quality across sources, when

census data were collected, the reference dates for administrative data, and lack of transparency

about post-processing applied, leads to questionable overall data quality across the country and

within population groups. Given these issues with administrative records, the lack of testing, and

a drastically compressed schedule, based on my experience and knowledge, I do not believe

maximizing administrative records use will be possible without serious risk to conducting an

actual enumeration in the 2020 Census.

   VI.         CONCERNS WITH AVAILABLE ADMINISTRATIVE RECORDS

         20.     Census memos and publications have not described how the sources that have

been prepared for operational use reflect the diverse population in the U.S. This calls into

question the Census Bureau’s ability to impute all ethnicity and race groups, and all age groups

for every geography.




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        21.     Earlier studies reveal that administrative data have lower coverage of groups

including non-white and high mobility young adults. 2 An array of sources is needed to reflect

the U.S. population, or you risk the results found in the 2010 Census Match Study 3 that I

designed and conducted with Sonya Porter and my staff in CARRA at the Census Bureau. That

study, the first national assessment of how close an administrative data census could come to a

traditional enumeration, revealed that administrative data were useful but the combination used

in that study did not result in population totals that were consistent with a traditional census. The

combination of commercial and federal administrative data sources provided low coverage of

Hispanics, Native Hawaiian or Other Pacific Islander, and American Indian or Alaska Native

race groups. These groups were also challenging to match across sources due to the Census

Bureau’s approach to person validation and linkage. A 2014 study noted that young children,

minorities, residents of group quarters, immigrants, recent movers, low-income individuals, and

non-employed individuals were less likely to receive a validated person linkage identifier.4 This

is the same methodology being used for person validation and linkage for the 2020 census.

        22.     After the 2010 Census Match Study, the Census Bureau made efforts to improve

administrative data coverage of the population, and to find sources of administrative data where

earlier studies had revealed weaknesses. The composition of the records needs to be understood

by age, sex, race, and Hispanic origin. Tax data misses many individuals who are not in the labor

force, and will miss children in many households. This is why the now-dismantled Center for



2
  See Brittany Bond, J. David Brown, Adela Luque, Amy O’Hara, The Nature of the Bias When Studying Only
Linkable Person Records: Evidence from the American Community Survey, U.S. Census Bureau (April 22, 2014),
https://www.census.gov/content/dam/Census/library/working-papers/2014/adrm/carra-wp-2014-08.pdf.
3 “2010 Census Match Study,” Sonya Rastogi and Amy O’Hara, U.S. Census Bureau, November 16, 2012,

https://www.census.gov/2010census/pdf/2010_Census_Match_Study_Report.pdf.
4
  Brittany Bond, J. David Brown, Adela Luque, Amy O’Hara, The Nature of the Bias When Studying Only Linkable
Person Records: Evidence from the American Community Survey, U.S. Census Bureau (April 22, 2014),
https://www.census.gov/content/dam/Census/library/working-papers/2014/adrm/carra-wp-2014-08.pdf.


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Administrative Records Research and Applications pursued state health and human services

program data. Dozens of datasets from state Supplemental Nutrition Assistance Programs,

Women, Infant, and Children programs, and Temporary Assistance for Needy Families programs

were accessed and harmonized. But according to its May 2020 memo, the Census Bureau does

not plan to use any of these files for 2020 count imputation.

        23.      Increased reliance on administrative data in the post-processing period would

require careful combination of sources and sufficient time to do it right. With the truncated

schedule, there is not sufficient time. How administrative data would be summed when

household members appear in multiple program files would need to be resolved. Adding sources

together to get a total count may be appropriate in some households, but could erroneously

reflect household size and composition in others. For example, a multigenerational household

may have multiple tax returns, Medicare, and Housing and Urban Development mortgage

administrative data, all reflecting a family under one roof. If the Census Bureau only counts one

or two of these sources, family members would be missed and administrative data business rules

would exacerbate an undercount. Research from Pew Research Center indicates that many

multi-generational households are households with Hispanic, Black, and Asian heads, as well as

immigrant households.5 Based on my knowledge and experience, it is unlikely that the Census

Bureau has developed business rules or algorithms that properly blend sources together to

accurately reflect household rosters. Such business rules and algorithms were not in place when

I left in 2017 and have not been publicly shared since.




5
 Paul Taylor, et al., Fighting Poverty in a Tough Economy, Americans Move in with Their Relatives, Pew Research
Center, Chapter 3: Demographics of Multi-Generational Households (Oct. 3, 2-11),
https://www.pewsocialtrends.org/2011/10/03/chapter-3-demographics-of-multi-generational-households/.


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   VII.      CONCLUSION

       24.     Because of insufficient quality administrative records available to address the

various shortcomings resulting from a truncation of field operations and post-processing, based

on my experience and knowledge, the Census Bureau must adhere to the requested plan

extending statutory deadlines. Based on my knowledge and experience, the truncated schedule

does not provide adequate time to meet these challenges, particularly given that career

professionals at the Census Bureau said they needed until April 30, 2021, and the result of

adhering to the truncated schedule will be a failure to conduct an actual enumeration of the

population.



I declare under penalty of perjury that the foregoing is true and correct.




                                                    Amy O’Hara


Executed on August 31, 2020 at Silver Spring, Maryland.




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              APPENDIX 1
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                                                                                            August 2019


                                             AMY O’HARA
                                            Curriculum Vitae

Massive Data Institute                                                  650-680-5075
Georgetown University                                                   amy.ohara@georgetown.edu
Washington DC 20057


EMPLOYMENT
Georgetown University
       Research Professor, Massive Data Institute, 2018 - present
       Director, Federal Statistical Research Data Center, 2018 - present

Stanford University
        Senior Research Scholar, Stanford Institute for Economic Policy Research, 2017- 2018
        Associate Director for Data, Stanford Center for Population Health Sciences, 2017-2018

U.S. Census Bureau
        Chief, Center for Administrative Records Research and Applications, 2014-2017
        Acting Chief, Center for Administrative Records Research and Applications, 2011-2014
        Economist and Statistician, 2004-2011

EDUCATION
University of Notre Dame
        Ph.D. in economics, 2003
        M.A. in economics, 1998
State University of New York College at Buffalo
        B.S. in economics, 1996

PUBLICATIONS
Medalia, Carla, Bruce Meyer, Amy O’Hara, and Derek Wu. 2019. “Linking Survey and Administrative Data
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O’Hara, Amy. “Observing and Linking Household Relationships Across US Data Sources.” In preparation.
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Postsecondary Data Infrastructure: What is Possible Today. Institute for Higher Education Policy. June
2019.

Developing, Validating, and Obtaining Stakeholder Buy-in for Criteria for Applying Social Science to
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Co-founded CLIP to provide linked microdata from three decennial censuses, two household surveys
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seven federal programs for researchers.

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Kidlink file consists of parent-child linkages observed in Social Security card application data validated
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relationships. The data are currently used in research projects, survey operations, and decennial census
operations.

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of Management and Budget. June 2019.
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Acquiring and Protecting Administrative Records: Current Programs and the Future. Future of Privacy
Forum. September 2014.



GRANTS AND INSTITUTIONAL AWARDS
State Population Estimate Benchmarking (Co-Principal Investigator), funding by the Alfred P. Sloan
Foundation, 2019-2021, $600,000

Administrative Data Research Institute (Principal Investigator), funded by the Alfred P. Sloan Foundation,
2018-2020, $1.7 million

2013 Gold Medal, U.S. Department of Commerce
2012 Arthur S. Flemming Award for Leadership and Management in Government Service
2010 Bronze Medal, U.S. Department of Commerce

PROFESSIONAL SERVICE
Invited Member, Health and Retirement Survey Data Monitoring Committee, 2019-2021
Invited Member, Evaluation Advisory Group, Future Skills Centre, 2019-2024
Canadian Future Skills Centre Evaluation Advisory Committee, 2019-present
Dutch Open Data Infrastructure for Social Science and Economic Innovations Advisory Board, 2020-2024
Invited Member, Panel on Improving Consumer Data for Food and Nutrition Policy Research for the
Economic Research Service, 2018-present
Member, National Bureau of Economic Research Conference on Research in Income and Wealth
Invited Member, Panel on Modernizing the Nation's Crime Statistics, National Academies of Science,
Engineering, and Medicine, 2013-2018
Criminal Justice Administrative Records System Board of Directors, University of Michigan, 2016-present
Manuscript reviewer for Journal of Human Resources, International Journal of Population and Data
Science, Journal of Research on Educational Effectiveness, and Statistics and Public Policy




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